       Case 1:24-cv-01644-LJL           Document 123         Filed 12/02/24      Page 1 of 17




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------- x
ELIZABETH CHAN, et al.,                                                   :
                                                                          :
                                             Plaintiffs,                  :
                                                                          :
                                    v.                                    : No. 1:23-cv-10365-LJL
                                                                          :
UNITED STATES DEPARTMENT OF                                               :
TRANSPORTATION, et al.,                                                   :
                                                                          :
                                             Defendants.                  :
------------------------------------------------------------------------- x
MICHAEL MULGREW, et al.,                                                  :
                                                                          :
                                             Plaintiffs,                  :
                                                                          :
                                    v.                                    : No. 1:24-cv-01644-LJL
                                                                          :
UNITED STATES DEPARTMENT OF                                               :
TRANSPORTATION, et al.,                                                   :
                                                                          :
                                             Defendants.                  ;
------------------------------------------------------------------------- x


           DEFENDANT STEPHANIE WINKELHAKE’S (1) REPLY
          MEMORANDUM OF LAW IN FURTHER SUPPORT OF HER
          MOTION TO DISMISS AND (2) MEMORANDUM OF LAW IN
             OPPOSITION TO A PRELIMINARY INJUNCTION


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December 2, 2024
        Case 1:24-cv-01644-LJL                  Document 123             Filed 12/02/24           Page 2 of 17




                                           TABLE OF CONTENTS

                                                                                                                     Page

TABLE OF AUTHORITIES ......................................................................................... ii

PRELIMINARY STATEMENT .................................................................................... 1

ADDITIONAL FACTUAL BACKGROUND ................................................................ 2

STANDARD OF REVIEW FOR PRELIMINARY INJUNCTION .............................. 3

ARGUMENT ................................................................................................................. 4

I.       THE ACT DOES NOT VIOLATE THE DORMANT
         COMMERCE CLAUSE ...................................................................................... 5

II.      THE ACT DOES NOT VIOLATE THE RIGHT TO TRAVEL ....................... 13

CONCLUSION............................................................................................................ 13
        Case 1:24-cv-01644-LJL                Document 123            Filed 12/02/24          Page 3 of 17




                                      TABLE OF AUTHORITIES

                                                                                                             Page(s)

                                         FEDERAL DECISIONS

American Trucking Ass’ns, Inc. v. Alviti,
     630 F. Supp. 3d 357 (D.R.I. 2022),
     appeal filed, No. 22-1796 (1st Cir. Oct. 20, 2022) ........................................... 11

American Trucking Ass’ns, Inc. v. New York State Thruway Authority,
     199 F. Supp. 3d 855 (S.D.N.Y. 2016),
     Vacated on other grounds, 795 F.3d 351 (2d Cir. 2015) ................................. 11

American Trucking Ass’n v. New York State Thruway Authority,
     238 F. Supp. 3d 527 (S.D.N.Y. 2017),
     aff’d, 886 F.3d 238 (2d Cir. 2018) ................................................................ 5, 11

American Trucking Ass’ns. Inc. v. Scheiner,
     483 U.S. 266 (1987) .................................................................................... 7, 8, 9

Angus Partners LLC v. Walder,
     52 F. Supp. 3d 546 (S.D.N.Y. 2014) ................................................................. 10

Auto. Club of N.Y., Inc. v. Port Auth. of N.Y. & N.J.,
      887 F.2d 417 (2d Cir. 1989) ............................................................................. 10

Bridgeport & Port Jefferson Steamboat Co. v. Bridgeport Port Auth.,
      567 F.3d 79 (2d Cir. 2009) ......................................................................... 11, 12

Evansville-Vanderburgh Airport Authority v. Delta Airlines, Inc.,
     405 U.S. 707 (1972) .................................................................................... 1, 6, 7

Goldberg v. Sweet,
     488 U.S. 252 (1989) ............................................................................................ 8

New York Progress & Prot. PAC v. Walsh,
     733 F.3d 483 (2d Cir. 2013) ............................................................................... 3

Sussman v. Crawford,
     488 F.3d 136 (2d Cir. 2007) ........................................................................... 3, 4

Town of Southold v. Town of E. Hampton,
     477 F.3d 38 (2d Cir. 2007) ................................................................................. 9


                                                          ii
        Case 1:24-cv-01644-LJL                  Document 123              Filed 12/02/24          Page 4 of 17




                                                                                                                   Page(s)

Washington State Grange v. Washington State Republican Party,
     552 U.S. 442 (2008) ............................................................................................ 7


                                            FEDERAL STATUTES

Value Pricing Pilot Program
      23 U.S.C. § 149 note ........................................................................................... 5

Pub. L. 102-240, Title I, § 1012(b) ................................................................................ 5


                                               STATE STATUTES

N.Y. Vehicle & Traffic Law
      § 1704-a(1) ........................................................................................................ 12




                                                             iii
      Case 1:24-cv-01644-LJL      Document 123     Filed 12/02/24   Page 5 of 17




                           PRELIMINARY STATEMENT

      The Court should grant Stephanie Winkelhake’s motion to dismiss the Chan

and Mulgrew plaintiffs’ federal constitutional challenges to New York’s Traffic

Mobility Act (“Act”) and deny plaintiffs’ motion for a preliminary injunction to the

extent that it is based on those challenges. 1

      The dormant Commerce Clause does not apply to congestion pricing because

Congress expressly authorized States to adopt congestion pricing. In any event, the

Act does not violate the dormant Commerce Clause because the Act does not

discriminate against interstate commerce, impose a different burden on interstate

commerce than the burden imposed on intrastate commerce, or have an

impermissible extraterritorial effect. The test for user fees in Evansville-

Vanderburgh Airport Authority v. Delta Airlines, Inc., 405 U.S. 707, 714, 716-17

(1972), does not apply to congestion tolls because they are not a fee to help defray

the costs of construction and maintenance of a state-owned facility, but if applied,

the Act meets that test.



1 As Ms. Winkelhake did in the opening brief on her motion to dismiss the federal
constitutional claims, Memorandum of Law of Defendant Stephanie Winkelhake,
P.E., in Support of Her Motion to Dismiss the Federal Constitutional Claims
(“Winkelhake Br.”) at 1 n.1 (Sept. 30, 2024) [Chan ECF No. 116; Mulgrew ECF No.
103], she here addresses only the constitutionality of the Act under the U.S.
Constitution and supports dismissal of the as-applied federal constitutional claims
regarding implementation of the Act for the reasons stated in the papers filed by
the Metropolitan Transportation Authority and Triborough Bridge and Tunnel
Authority in support of their motion to dismiss those claims. She also supports
denial of the preliminary injunction motion, to the extent based on those as-applied
federal constitutional claims, for the reasons stated in those papers, and does not
separately argue irreparable harm, the balance of the equities, or the public
interest.
       Case 1:24-cv-01644-LJL    Document 123     Filed 12/02/24   Page 6 of 17




        The Chan and Mulgrew plaintiffs’ right-to-travel claims should be dismissed

and do not warrant a preliminary injunction because the basis for those claims is

the same as the basis for the dormant Commerce Clause claims, and thus they fail

for the same reasons.

                    ADDITIONAL FACTUAL BACKGROUND

        On November 14, 2024, Governor Kathy Hochul announced a proposal to

proceed with congestion pricing under the Act, but with the toll structure and rates

that had been adopted by the Triborough Bridge and Tunnel Authority

(“Triborough”) in March 2024 phased in gradually over several years. See, e.g.,

Letter from Roberta A, Kaplan to Hon. Lewis J. Liman at 1 (Nov. 14, 2024) [Chan

ECF No. 125; Mulgrew ECF No. 113]. On November 18, 2024, Triborough adopted

the phase-in feature of the toll rate structure it had approved in March and set

January 5, 2025 as the new implementation date. See, e.g., Letter in Trucking Ass’n

of N.Y., Inc. v. Metropolitan Transp. Auth. No. 1:24-cv-4111, from Brian D. Carr to

Hon. Lewis J. Liman at 1 (Nov. 19, 2024) [Trucking Association ECF No. 73]. On

November 21, 2024, the Federal Highway Administration and the three project

sponsors, Triborough, the New York State Department of Transportation, and the

New York City Department of Transportation, signed the Value Pricing Pilot

Program agreement that authorizes Triborough to begin congestion pricing.

Agreement (Nov. 21, 2024). 2




2   https://new.mta.info/document/158201.
                                            2
      Case 1:24-cv-01644-LJL     Document 123      Filed 12/02/24   Page 7 of 17




      At the November 21, 2024 conference before the Court, the Chan and

Mulgrew plaintiffs informed this Court that they would join the motion for a

preliminary injunction previously filed by the Trucking Association of New York in

its challenge to congestion pricing. See Memorandum of Law in Support of

Plaintiffs’ Motions for Preliminary Injunction on Their Constitutional Claims

(Chan/Mulgrew PI Br.”) at 2-3 (Nov. 29, 2024) [Chan ECF No. 134]; Mulgrew ECF

No. 122]. On November 27, 2024, the Court set an amended briefing schedule that

would permit the preliminary injunction motion to be decided together with

defendants’ pending motions to dismiss. So-Ordered Letter (Nov. 27, 2024) [Chan

ECF No. 132; Mulgrew ECF No. 120].

        STANDARD OF REVIEW FOR PRELIMINARY INJUNCTION

      When determining a movant’s entitlement to a preliminary injunction, courts

consider whether (1) the movant is likely to succeed on the merits, (2) the movant is

likely to suffer irreparable harm absent an injunction (3) the balance of equities tips

in the movant’s favor, and (4) an injunction is in the public interest. New York

Progress & Prot. PAC v. Walsh, 733 F.3d 483, 486 (2d Cir. 2013). Where, as here, a

preliminary injunction “will affect government action taken in the public interest

pursuant to a statutory or regulatory scheme,” the moving party must satisfy a

heightened standard, which requires a “clear” or “substantial” likelihood of success.

Sussman v. Crawford, 488 F.3d 136, 140 (2d Cir. 2007) (quotation marks omitted).

In all events, a “‘preliminary injunction is an extraordinary and drastic remedy, one




                                          3
      Case 1:24-cv-01644-LJL     Document 123      Filed 12/02/24    Page 8 of 17




that should not be granted unless the movant, by a clear showing, carries the

burden of persuasion.’” Id. at 139 (emphasis in original).

                                    ARGUMENT

      The Court should dismiss the Chan and Mulgrew plaintiffs’ challenges to the

constitutionality of the Act under the U.S. Constitution and deny their request for a

preliminary injunction to the extent that it is based on those challenges. The

dormant Commerce Clause does not apply to congestion pricing because congestion

pricing was authorized by Congress, and in any event, the Act does not discriminate

against interstate commerce, impose an unequal burden on interstate commerce, or

have an impermissible extraterritorial effect. There is no violation of the

constitutional right to travel because the Act’s minor restrictions on travel for the

purpose of reducing congestion and air pollution and collecting funds for public

transit do not deter travel, do not have impeding travel as their primary objective,

and do not establish any classification that penalizes the right to travel. Moreover,

to the extent the right-to-travel claim rests on the same basis as the dormant

Commerce Clause claims, it fails for the same reasons. 3




3 The Chan and Mulgrew plaintiffs are moving for a preliminary injunction with
regard to their federal constitutional claims based solely on the motion papers filed
by the Trucking Association in its case, see Chan/Mulgrew PI Br. at 2-3, and those
papers include arguments regarding preemption. But the Chan and Mulgrew
plaintiffs’ complaints contain no preemption claim, so those plaintiffs cannot obtain
a preliminary injunction based on the Trucking Association’s preemption claim.
Accordingly, Ms. Winkelhake does not address preemption in this brief.
                                           4
      Case 1:24-cv-01644-LJL     Document 123      Filed 12/02/24    Page 9 of 17




I.    THE ACT DOES NOT VIOLATE THE DORMANT COMMERCE
      CLAUSE.

      As an initial matter and as shown in Ms. Winkelhake’s opening brief on her

motion to dismiss, the dormant Commerce Clause does not apply to the Act because

Congress has authorized congestion pricing. Winkelhake Br. at 5. The Chan and

Mulgrew plaintiffs argue that such an authorization must be “expressly stated.”

Memorandum of Law in Opposition to Defendants’ Motions to Dismiss Plaintiffs’

Constitutional Claims (“Opp. Br.”) at 7 n.5 (Nov. 25, 2024) [Chan ECF No. 130;

Mulgrew ECF No. 118]. But “value pricing pilot programs” are expressly authorized

by Congress, 23 U.S.C. § 149 note 4, and plaintiffs do not contest that New York’s

congestion pricing program is a value pricing pilot program. 5 Thus, the Act is in

“perfect accord with Congress’ unmistakable intent.” American Trucking Ass’ns,

Inc. v. New York State Thruway Auth., 238 F. Supp. 3d 527, 534 (S.D.N.Y. 2017),

aff’d, 886 F.3d 238 (2d Cir. 2018).

      In any event, as explained in Ms. Winkelhake’s opening brief, the Act does

not violate the dormant Commerce Clause because it does not facially discriminate

against or unduly burden interstate commerce. Winkelhake Br. at 7-8. As further

explained, the test for evaluating the constitutionality of user fees established in



4 https://www.govregs.com/uscode/title23_chapter1_section149_notes.
5 The original title of the federal statute authorizing congestion pricing was
“Congestion Pricing Pilot Program,” and the statute expressly authorized
“congestion pricing pilot projects.” Pub. L. 102-240, Title I, § 1012(b). While those
projects are now called value pricing pilot programs, they clearly include congestion
pricing. See, e.g., Federal Highway Administration, Value Pricing Pilot Program,
https://ops.fhwa.dot.gov/congestionpricing/value_pricing/. Plaintiffs do not argue
otherwise.
                                           5
     Case 1:24-cv-01644-LJL      Document 123      Filed 12/02/24    Page 10 of 17




Evansville-Vanderburgh Airport Authority v. Delta Airlines, Inc., 405 U.S. 707

(1972), does not apply here because the congestion tolls are not user fees,

Winkelhake Br. at 9-10, and even if the Evansville test did apply, congestion pricing

would pass it, id. at 10-15.

      The Chan and Mulgrew plaintiffs argue that, even if the Evansville test does

not apply, the Act “facially discriminates,” Opp. Br. at 6, n.4, but they identify no

provision of the Act that does so. Instead, they allege a number of facts relating to

specific costs under the toll schedule and particular plaintiffs’ circumstances, id.,

which would at most be relevant to an as-applied challenge to congestion pricing

implementation.

      As Ms. Winkelhake has explained, the Evansville test does not apply to

congestion tolls because they are not “a charge designed only to make the user of

state-provided facilities pay a reasonable fee to help defray the costs of their

construction and maintenance.” Winkelhake Br.at 9-10 (quoting Evansville, 405

U.S. at 714). In response, the Chan and Mulgrew plaintiffs do not contend that

congestion tolls are such a charge and thus have waived that argument. Instead,

they argue only that Ms. Winkelhake’s argument “flatly undercuts” the other

defendants’ argument that congestion pricing passes the Evansville test. Opp. Br.

at 12, n.8. Ms. Winkelhake’s argument does not do so because she argues in the

alternative: the Evansville test does not apply, but if the Court determines that it

does, the Act passes the test. Winkelhake Br. at 9-15.




                                           6
     Case 1:24-cv-01644-LJL      Document 123      Filed 12/02/24    Page 11 of 17




      The Chan and Mulgrew plaintiffs also argue that the Court cannot determine

whether the tolls meet the Evansville test without discovery concerning “the actual

impact of the toll and how the revenue will be spent.” Opp. Br. at 9. However, a

facial challenge to the Act requires plaintiffs to establish that “the law is

unconstitutional in all of its applications,” Washington State Grange v. Washington

State Republican Party, 552 U.S. 442, 449 (2008), and no fact discovery would be

necessary to make that showing. But even if discovery were necessary to address

the motions to dismiss, the Chan and Mulgrew plaintiffs have not shown that they

are likely to succeed on the merits, as necessary to obtain a preliminary injunction.

      As Ms. Winkelhake has shown, congestion pricing meets all three

requirements of the Evansville test, 405 U.S. at 716-17: the Act does not

discriminate against interstate travel; congestion pricing as contemplated by the

Act represents a fair approximation of use; and it does not impose costs that would

be excessive in relation to the benefits conferred. Winkelhake Br. at 7-8, 10-15.

The Chan and Mulgrew plaintiffs respond that congestion tolls do not meet any of

those requirements, Opp. Br. at 9-20, but their arguments lack merit.

      First, as discussed above (at 6), plaintiffs argue without basis that the Act

discriminates on its face. They also argue that a tolling schedule, even if facially

neutral, can still be discriminatory if it burdens out-of-state payers more than in-

state payers, citing American Trucking Association v. Scheiner, 483 U.S. 266, 282-

87 (1987). Opp. Br. at 19-20. But Scheiner ruled that a tax that “impose[d] a cost

per mile on [out-of-state] trucks that is approximately five times as heavy as the



                                            7
     Case 1:24-cv-01644-LJL      Document 123     Filed 12/02/24    Page 12 of 17




cost per mile borne by local trucks” was discriminatory. 483 U.S. at 286. Nothing

in the Act requires higher congestion tolls based on state of residence. Scheiner, id.,

also found that local trucks received a greater benefit than out-of-state trucks

because they used the roads more often, see Opp. Br. at 20, but out-of-state and New

York drivers, as well as everyone else using the Central Business District, get the

same benefits from congestion tolls because they benefit from reduced congestion

and air pollution in the District. As stated in Scheiner, “the Commerce Clause is

not offended when state boundaries are economically irrelevant.” Id. at 283.

      Plaintiffs also invoke the “internal consistency” test for actual discrimination

in Scheiner, 483 U.S. at 284, but misunderstand it to prohibit similar taxes in

multiple states. Opp. Br. at 19. Instead, the test allows such taxes so long as they

“maintain state boundaries as a neutral factor in economic decisionmaking.” 483

U.S. at 283. That is true with respect to congestion pricing under the Act:

regardless of whether drivers entering the Central Business District started their

drives in New York, New Jersey, or any other state, nothing in the Act requires that

they pay different congestion tolls. In contrast, as discussed above, the tax at issue

in Scheiner fell more heavily on out-of-state drivers. The internal consistency rule

also allows each state to tax a transaction so long as no other state could tax that

transaction. Id. at 282-83 (acknowledging constitutionality of state vehicle

registration fees). See also Goldberg v. Sweet, 488 U.S. 252, 261 (1989) (upholding

tax on interstate telephone calls charged to a service address in the taxing state).

Because no other state will, or could, impose a congestion toll on entry to the



                                           8
     Case 1:24-cv-01644-LJL      Document 123      Filed 12/02/24    Page 13 of 17




Central Business District, there is no issue of internal consistency here. And by the

same token, New Jersey could impose a congestion toll to enter a congested area of

Newark, and Pennsylvania could do the same with respect to Philadelphia, so long

as those tolls did not distinguish between in-state and out-of-state drivers.

      On this point, plaintiffs quote the phrase “inexorable hydraulic pressure” in

Scheiner, Opp. Br. at 19, but that partial quotation is misleading. What the

decision actually says is that a tax has a discriminatory effect if it “exerts an

inexorable hydraulic pressure on interstate businesses to ply their trade within the

State that enacted the measure.” 483 U.S. at 286 (emphasis added). Plaintiffs have

provided no basis to conclude that this new congestion pricing toll in New York will

create “inexorable hydraulic pressure” for out-of-state companies to move business

to New York. 6

      Second, the Chan and Mulgrew plaintiffs argue that congestion pricing does

not meet the fair-approximation requirement because, as drivers in the Central

Business District, they “will not benefit from the toll revenue” raised to support

public transit. Opp. Br. at 10. They argue similarly that many of them, including

those who live in New Jersey and Pennsylvania, cannot use the MTA system, id.

at 11. In the preliminary injunction motion, they similarly argue that “delivery


6 The Chan and Mulgrew plaintiffs also assert that Ms. Winkelhake has asked the
Court to review the dormant Commerce Clause claim under Town of Southold v.
Town of East Hampton, 477 F.3d 38, 53 (2d Cir. 2007), rather than Evansville.
Opp. Br. at 18. But Ms. Winkelhake did not raise Town of Southold in connection
with the dormant Commerce Clause. Instead she relied on it only to argue that
plaintiffs do not have a right to travel claim separate from their dormant Commerce
Clause claim. Winkelhake Br. at 16-17. Plaintiffs do not disagree.

                                            9
     Case 1:24-cv-01644-LJL      Document 123      Filed 12/02/24    Page 14 of 17




trucks have no way to benefit from improvements to subways, buses, and railroads.”

Memorandum of Law in Support of Trucking Ass’n of N.Y.’s Motion for Preliminary

Injunction (“PI Br.”) at 19 (May 30, 2024) [Trucking Association ECF No. 4]. 7 But,

as discussed above (at 8), all of the benefits of congestion pricing support everyone

in the Central Business District, including drivers. Indeed, two of those benefits—

reducing congestion and air pollution in the Central Business District—benefit only

people who use the District. Winklehake Br. at 10, 12-13. The third benefit, raising

revenue for capital projects for public transit, also benefits everyone in the District

because upgrades to public transit that will be supported by the new revenue from

these tolls will encourage use of public transit and reduce congestion even for those

who continue to drive. Id. at 13-14. Indeed, Angus Partners LLC v. Walder, 52 F.

Supp. 3d 546, 567 (S.D.N.Y. 2014), which plaintiffs cite, recognizes that “[t]raffic

spillover” is “an appropriate consideration[ ] in determining whether a functional

relationship exists” for purposes of the first requirement. See also Auto. Club of

New York, Inc. v. Port Auth. of N.Y. & N.J., 887 F.2d 417, 421-23 (2d Cir. 1989)

(upholding use of Port Authority bridge and tunnel toll revenues for PATH trains

based on congestion “spillover” effects).

      The decisions on which the Chan and Mulgrew plaintiffs rely, Opp. Br. at 12-

13, hold only that the fair-approximation requirement must focus on the benefits

provided by the transportation system for which the toll is charged, and not on


7 Because the Chan and Mulgrew plaintiffs are relying on the Trucking
Association’s preliminary injunction motion papers rather than preparing their
own, there is a misalignment between the focus on the interests of truck operators
in the motion papers and the interests of the Chan and Mulgrew plaintiffs.
                                            10
     Case 1:24-cv-01644-LJL      Document 123       Filed 12/02/24   Page 15 of 17




other unrelated benefits. Bridgeport & Port Jefferson Steamboat Co. v. Bridgeport

Port Auth., 567 F.3d 79, 87 (2d Cir. 2009), held that the reduction of air pollution on

an interstate highway could not justify a fee for riding a ferry. American Trucking

Ass’ns, Inc. v. New York State Thruway Authority, 199 F. Supp. 3d 855, 879

(S.D.N.Y. 2016), vacated on other grounds, 795 F.3d 351 (2d Cir. 2015), ruled that

Thruway tolls could not be charged to fund the operation of canals because drivers

“derive[d] no benefit” from the canals. 8 And American Trucking Associations, Inc. v.

Alviti, 630 F. Supp. 3d 357, 382 (D.R.I. 2022)), appeal filed, No. 22-1796 (1st Cir.

Oct. 20, 2022), ruled that only the costs of maintaining the bridges for which tolls

are charged, and not of Rhode Island’s bridges generally or its transportation

system, could be considered. Here, in contrast, drivers in the Central Business

District will receive the benefits of the congestion tolls that they are required to pay

in the form of reduced congestion and cleaner air.

      The Chan and Mulgrew plaintiffs also argue that the $15 billion in revenue to

be raised by congestion tolls is “is not based on an approximation of the public’s use

of the facilities to support the facilities.” Opp. Br. at 10. But, unlike the user fees

at issue in Evansville, see p. 6 above, the purpose of congestion tolls is not to raise

revenue to support the roads in the Central Business District. The fair-

approximation requirement must be measured against the purposes of the toll,

including supporting upgrades to public transit. The New York Legislature


8 On remand after vacatur, the district court ruled that the toll was constitutional
because Congress had authorized it, and the Second Circuit upheld that decision.
American Trucking Ass’ns, Inc. v. New York State Thruway Auth., 238 F. Supp. 3d
527, 533-34, 541 (S.D.N.Y. 2017), aff’d, 886 F.3d 238 (2d Cir. 2018).
                                           11
     Case 1:24-cv-01644-LJL       Document 123      Filed 12/02/24    Page 16 of 17




determined that congestion pricing should raise $15 billion for MTA capital

projects, N.Y. Vehicle & Traffic L. § 1704-a(1), and plaintiffs do not allege that that

goal was unfounded.

      Third, the Chan and Mulgrew plaintiffs argue that congestion pricing is

excessive because some drivers would get no benefit from mass transit

improvements, again citing Bridgeport, New York State Thruway Authority, and

Alviti, Opp. Br. at 14-16. But unlike those cases and as discussed above (at 8) and

in Ms. Winkelhake’s opening brief (at 10, 12-13), congestion pricing benefits all

drivers entering the Central Business District by reducing congestion and air

pollution. Plaintiffs also contend in their preliminary injunction brief (at 20-21)

that reductions in traffic congestion or air pollution constitute “quality of life”

improvements that cannot constitute a benefit to toll payers, citing Bridgeport, 567

F.3d at 87. That contention fails for the same reason: the congestion and air

pollution benefits here are not collateral benefits accruing to use of unrelated

facilities, as in Bridgeport, but are instead one of the main public policy purposes of

the Act and directly related to the actions that are subject to tolling.

      Plaintiffs also argue that the decisions Ms. Winkelhake cites do not hold that

reduction of congestion is by itself a sufficient benefit to “render tolls non-excessive,”

Opp. Br. at 17, but identify nothing in those cases suggesting that it cannot be

sufficient, as would be necessary to support a ruling that the Act is facially

unconstitutional. Finally, the preliminary injunction brief also claims that

congestion pricing will not reduce congestion in the District because half of the



                                           12
      Case 1:24-cv-01644-LJL     Document 123      Filed 12/02/24   Page 17 of 17




vehicles that enter the District are exempt from the tolls, PI Br. at 9. That claim is

based on the details of the program adopted by Triborough rather than the Act.

II.    THE ACT DOES NOT VIOLATE THE RIGHT TO TRAVEL.

       The Chan and Mulgrew plaintiffs argue that their right-to-travel claim is

valid for the same reasons as their dormant Commerce Clause claim, see, e.g., Opp.

Br. at 1, 2, 6 n.4; PI Br. at 22. Accordingly, those arguments fail for the reasons set

out above (at 9-13).

                                   CONCLUSION

       The Court should dismiss plaintiffs’ dormant Commerce Clause and right to

travel challenges to New York’s Traffic Mobility Act and deny the preliminary

injunction.

Dated: New York, New York
        December 2, 2024

                                           Respectfully submitted,

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                                          13
